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                         IN THE UNITED STATES DISTRICT COURT FOR THE
                                 EASTERN DISTRICT OF VIRGINIA
                                     ALEXANDRIA DIVISION


   AMAZON.COM, INC and AMAZON                         )
   DATA SERVICES, INC.,                               )               Case No. 1:20cv484
                                                      )
                Plaintiffs,                           )            Hon. Rossie D. Alston, Jr.
                                                      )            Hon. Theresa Buchanan
   v.                                                 )
                                                      )
   WDC HOLDINGS LLC d/b/a                             )
   NORTHSTAR COMMERCIAL                               )
   PARTNERS, et al.,                                  )
                                                      )
                Defendants,
                                                      )        NOTICE OF HEARING ON
   ____________________________________               )    DEFENDANT CARLETON NELSON’S
                                                      )          MOTION TO STRIKE
   800 HOYT LLC,                                      )               (Doc. 959)
                                                      )
                Intervening Interpleader Plaintiff,   )
                                                      )    EXPEDITED HEARING REQUESTED
   v.                                                 )
                                                      )
   BRIAN WATSON, et al.                               )
                                                      )
                Interpleader Defendants.              )



            PLEASE TAKE NOTICE that on September 2, 2022, at 10:00 a.m., or as soon thereafter

  as the matter may be heard, counsel for Defendant Carleton Nelson will present argument before

  this Court on his motion to strike five factual assertions in Amazon’s motion for protective order

  and memorandum in support thereof.

            The parties are already to appear at this hearing time and date on that very motion for

  protective order. Thus, the hearing is being requested on an expedited basis due to the nature of

  the relief requested, and because the motion at issue is already the subject of a hearing at that time.




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            August 30, 2022    BURR & FORMAN LLP

                               /s/ Rachel Friedman
                               Rachel Friedman (VA Bar #93898)
                               420 North 20th Street, Suite 3400
                               Birmingham, AL 35203
                               Telephone: (205) 251-3000
                               Facsimile: (205) 458-5100
                               rfriedman@burr.com

                               /s/ J. Alex Little
                               J. Alex Little, IV (TN Bar No. 29858) (pro hac vice)
                               Emily H. Mack (TN Bar No. 31217) (pro hac vice)
                               222 2nd Ave. S., Suite 2000
                               Nashville, TN 37201
                               Telephone: (615) 724-3200
                               alex.little@burr.com
                               emack@burr.com

                               Adam R. Smart (FL Bar No 1032572) (pro hac vice)
                               50 North Laura Street, Suite 3000
                               Jacksonville, Florida 32202
                               Telephone: (904) 232-7200
                               asmart@burr.com

                               Attorneys for Carleton Nelson and Cheshire Ventures, LLC




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                                     CERTIFICATE OF SERVICE

            I hereby certify that on August 30, 2022, a true and correct copy of the foregoing has been

  served upon the following via email:

                                                         Casey Kirschner
                                                         635 N. Alvarado Lane
                                                         Plymouth, MN 55447
                                                         casey.kirschner@gmail.com
                                                         Pro se


            Dated: August 30, 2022                         /s/ Rachel Friedman
                                                           Rachel Friedman




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